Case 2:97-cr-20240-.]PI\/| Document 279 Filed 07/15/05 Page 1 of 3 Page|D 150
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT oF TENNESSEE /N,\/ g 0
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UNITED STATES OF AMERICA ) CR. NOsé\§i~/izgz%g¥mm
) E*§U?»$ sets
Piaintiff, ) 9 i 6£36`-1\41
) 97-20237-M1
vs ) 97-20238-M1
) 97-20239-M1
EDDLE JETER ) 97-20240-1\/11 ~/
) '97-20241-M1
Defendant. )
0R1)ER To sURRENDER

 

The defendant, Eddie Jeter, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI MEMPHIS
(SCP) 1101 John A. Denie Road, Memphis, TN 38134 by 2:00 p.m. on FRIDAY, AUGUST 5,
2005.

I'I` IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federal Ot`tice Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTERED this the 15 day of July, 2005.

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J PHIPPS McCALLA
ITED STATES DISTRICT JUDGE

 

This document entered on the docket sheet in c anca

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ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Sigoed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

 

 
  

       
 

UNITED `sTATEs DISTRICT COURT - WESTERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 279 in
case 2:97-CR-20240 Was distributed by faX, mail, or direct printing on
.1 uly 15, 2005 to the parties listed.

 

 

Carroll L. Andre

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Honorable .1 on McCalla
US DISTRICT COURT

